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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :       CASE. NO. 21-CR-489-RDM
                                               :
                                               :
JAMIE N. BUTEAU
and
JENNIFER P. BUTEAU,                            :
                                               :
                        Defendants             :

                                    JOINT STATUS REPORT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and the Defendants, by and with the consent of attorneys, Joseph Conte and Douglas

Stamm (collectively, “the Parties”), respectfully submits this status report, as directed by the Court,

and state as follows:

       1.       On July 23, 2021, the defendant was charged by way of Indictment. Specifically,

Jamie N. Buteau was charged with the following: (Count One) Civil Disorder in violation of 18

U.S.C. § 231(a)(3); (Count Two) Assaulting, Resisting and Impeding Certain Officers in violation

of Title 18 U.S.C. § 111(a)(1); (Count Three) Entering and Remaining in a Restricted Building or

Grounds in violation of Title 18 U.S.C. § 1752(a)(1); (Count Four) Disorderly and Disruptive

Conduct in a Restricted Building or Grounds in violation of Title 18 U.S.C. § 1752(a)(2); (Count

Five) Engaging in Physical Violence in a Restricted Building or Grounds in violation of Title 18

U.S.C. § 1752(a)(4); (Count Six) Disorderly Conduct in a Capitol Building in violation of 40

U.S.C. § 5104(e)(2)(D); (Count Seven) Act of Physical Violence in a Capitol Building in violation

of Title 40 U.S.C. § 5104(e)(2)(F); and (Count Eight) Parading Demonstrating or Picketing in a


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Capitol Building, in violation of Title 40 U.S.C. § 5104(e)(2)(G). Jennifer P. Buteau was charged

with the following: (Count Three) Entering and Remaining in a Restricted Building or Grounds in

violation of Title 18 U.S.C. § 1752(a)(1); (Count Four) Disorderly and Disruptive Conduct in a

Restricted Building or Grounds in violation of Title 18 U.S.C. § 1752(a)(2); (Count Six) Disorderly

Conduct in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(D); and (Count Eight)

Parading Demonstrating or Picketing in a Capitol Building, in violation of Title 40 U.S.C. §

5104(e)(2)(G).

       2.        One November 1, 2021, a Superseding Indictment charging the same violations

listed in Paragraph 1 was filed with this Court.

       3.        On April 21, 2022, another Superseding Indictment charging the same violations

listed in Paragraph 1 was filed with this Court.

       4.        On July 8, 2022, undersigned Government counsel, Christopher M. Cook, entered

his appearance on behalf of the United States.

       5.        Discovery in this matter is ongoing; government counsel has provided the discovery

specific to the Defendants’ case to defense counsel. There are also ongoing global discovery

productions for this case.

       6.        A plea offer has been extended to the defendants in this case, and the defendants

have expressed a desire to take this case to trial. Accordingly, the parties request that the Court

set a trial date to begin on or about April 24, 2022, and respectfully request a status conference for

on or about December 5, 2022, to set a motions schedule.

       7.        The parties have also agreed, and jointly request the Court to exclude related time

from the Speedy Trial Act from the date of this filing, until the next status conference.


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                                       Respectfully Submitted,



                                       MATTHEW M. GRAVES
                                       United States Attorney
                                       D.C. Bar No. 481052


                                       /s/ Christopher M. Cook
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                                       /s/ Douglas Stamm
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